                 Case 1:22-cv-00383 Document 1 Filed 04/22/22 Page 1 of 3



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

DANIEL GRAHAM,

            Plaintiff,

v.                                                             Civil Action No: 1:22-cv-383

 DEBT USA LLC,                                                 State Court Case No: J2-CV-22-
                                                               001636
            Defendant,



                                  DEFENDANT DEBT USA LLC’S
                                     NOTICE OF REMOVAL

       Defendant Debt USA LLC (“Defendant”) files this Notice of Removal of this action from

the Justice of the Peace Court, Precinct 2, Travis County, Texas to the United States District Court

for the Western District of Texas, Austin Division as follows:

       1.          Plaintiff Daniel Graham (“Plaintiff”) filed his Complaint on April 11, 2022, in the

Justice Court, Precinct 2, Travis County, Texas.

       2.          This is a civil action based on Plaintiff’s contentions that Defendant has violated

the Telephone Consumer Protection Act (TCPA), 47 U.S. Code § 227, et seq. (“TCPA”).

       3.          Removal is proper because this case involves a federal question – alleged violations

of the TCPA. Therefore, the suit is removable under 28 U.S.C. § 1441(a).

       4.          Removal is timely pursuant to 28 U.S.C. § 1446(b) because Defendant has filed

this Notice of Removal within 30 days of receipt of Plaintiff’s Complaint.

       5.          Venue is proper in this district under 28 U.S.C. § 1441(a) because the state court

where the suit has been pending is located in this district.



                                                    1
              Case 1:22-cv-00383 Document 1 Filed 04/22/22 Page 2 of 3



        6.    Pursuant to 28 U.S.C. § 1446(a) and LR 81, copies of all process, pleadings, orders

 and other papers filed in this action and obtained by Defendant, index of matters being filed and a

 list of all counsel of record, including addresses, telephone numbers and parties represented, are

 attached hereto and incorporated herein by reference.

        7.    Notice of this removal will be promptly filed with the Justice Court, Precinct 2, Travis

 County, Texas and be served on all adverse parties.

        8.    Plaintiff did not request a jury trial in state court.

       For the above reasons, Defendant Debt USA LLC requests that this Court assume full

jurisdiction over the proceeding as provided by law.




Dated: April 22, 2022                                        Respectfully submitted,

                                                             JAFFER & ASSOCIATES, PLLC

                                                             By: /s/ Shawn Jaffer
                                                             Shawn Jaffer
                                                             SBN. 24107817
                                                             Robert Leach
                                                             SNB. 24103582
                                                             5757 Alpha Rd. Suite 430
                                                             Dallas, TX 75240
                                                             T:(214) 494-1871
                                                             F:(888) 509-3910
                                                             Email: attorneys@jaffer.law
                                                             Attorneys for Defendant




                                                   2
              Case 1:22-cv-00383 Document 1 Filed 04/22/22 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 22, 2022, a true copy of this Motion has been fled on

CM/ECF and will be served on all parties in a manner approved by the Texas Rules of Civil

Procedure.




                                                                 /s/ Shawn Jaffer
                                                                 Shawn Jaffer




                                               3
